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            UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE
__________________________________________
                                           )
CAMBRIA COMPANY LLC,                       )
                                           )
                  Plaintiff,               )
                                           )
      and                                  )
                                           )
ANTIQUE MARBONITE PRIVATE LIMITED; )
SHIVAM ENTERPRISES, PRISM JOHNSON          )
LIMITED; ARIZONA TILE, LLC; M S            )
INTERNATIONAL, INC.; AND PNS               )
CLEARANCE LLC,                             )
                                           )
                  Consolidated Plaintiffs, )
                                           )
      v.                                   ) Consol. Court No. 23-00007
                                           )
UNITED STATES,                             )
                                           )
                  Defendant,               )
                                           )
      and                                  )
                                           )
ABP TRADING, LLC; ARIZONA TILE LLC;        )
COSMOS GRANITE (SOUTH EAST) LLC;           )
COSMOS GRANITE (SOUTH WEST) LLC;           )
COSMOS GRANITE (WEST) LLC; CURAVA          )
CORPORATION; DIVYASHAKTI GRANITES )
LIMITED; DIVYASHAKTI LIMITED;              )
FEDERATION OF INDIAN QUARTZ                )
SURFACE INDUSTRY; M S                      )
INTERNATIONAL, INC; MARUDHAR               )
ROCKS INTERNATIONAL PVT LTD.;              )
OVERSEAS MANUFACTURING AND                 )
SUPPLY INC.; QUARTZKRAFT LLP; AND          )
STRATUS SURFACES LLC.,                     )
                                           )
                  Defendant-Intervenors.   )
__________________________________________)
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                         STIPULATION FOR ENTRY OF JUDGMENT

       Cambria Company LLC; Arizona Tile, LLC; M S International, Inc.; PNS Clearance

LLC, Antique Marbonite Private Limited, Prism Johnson Limited, and Shivan Enterprises; the

United States; Federation of Indian Quartz Surface Industry; and ABP Trading, LLC; Cosmos

Granite (South East) LLC, Cosmos Granite (South West) LLC, Curava Corporation, DivyaShakti

Limited, Divyashakti Granites Limited, Marudhar Rocks International Pvt. Ltd., Overseas

Manufacturing and Supply Inc., Quartzkraft LLP, and Stratus Surfaces LLC (collectively, the

parties), inform the Court that they have reached a settlement of the claims in this case.

       Pursuant to the terms of the settlement, the Department of Commerce (Commerce) has

agreed that (1) within 10 days of entry of judgment in accordance with this Stipulation For Entry

Of Judgment, Commerce shall issue for publication in the Federal Register amended final results

of the administrative review, setting the weighted-average dumping margin for Antique Group at

3.58 percent for the 2019-2021 review of Commerce’s antidumping duty order covering quartz

surface producers from India and for certain non-selected companies, Commerce shall set

importer-specific dumping margins for certain non-selected companies at 1.02 percent for the

2019-2021 review of Commerce’s antidumping duty order covering quartz surface producers

from India as follows: (i) For merchandise imported by Arizona Tile, LLC and produced and/or

exported by ARO Granite Industries Limited, Esprit Stones Pvt., Ltd., Marudhar Rocks

International Pvt. Ltd., Pacific Industries Limited, Pacific Quartz Surfaces LLP, Paradigm Stone

India Private Limited, or Quartzkraft LLP; (ii) For merchandise imported by M S International,

Inc. and produced and/or exported by Baba Super Minerals Pvt. Ltd., Camrola Quartz Limited,

Chariot International Pvt. Ltd., Cuarzo, Esprit Stones Pvt., Ltd., Glowstone Industries Private

Limited, Keros Stone LLP, Mahi Granites Private Limited., Pacific Industries Limited, Pacific
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Quartz Surfaces LLP, Paradigm Stone India Private Limited, Pelican Quartz Stone, Rocks

Forever, Safayar Ceramics Private Ltd., Satya Exports, or Southern Rocks and Minerals Private

Limited; and (iii) For merchandise imported by PNS Clearance LLC and produced and/or

exported by Baba Super Minerals Pvt. Ltd., Camrola Quartz Limited, Chariot International Pvt.

Ltd., Cuarzo, Esprit Stones Pvt., Ltd., Glowstone Industries Private Limited, Keros Stone LLP,

Mahi Granites Private Limited., Marudhar Rocks International Pvt. Ltd., Pacific Industries

Limited, Pacific Quartz Surfaces LLP, Paradigm Stone India Private Limited, Pelican Quartz

Stone, Rocks Forever, Safayar Ceramics Private Ltd., Satya Exports, Southern Rocks and

Minerals Private Limited, or Sunex Stones Private Ltd. and (2) within 15 days following Federal

Register publication of Commerce’s amended final results of the administrative review (that is,

within 25 days of entry of judgment in accordance with the Stipulation For Entry Of Judgment

dissolving the injunction currently prohibiting the liquidation of entries), and in accordance with

the amended final results of the administrative review, Commerce will issue liquidation

instructions to U.S. Customs and Border Protection (CBP), in a form that has been agreed upon

by Commerce and the parties.

       Accordingly, the parties respectfully request that the Court enter judgment pursuant to the

terms set forth in the attached Order Of Judgment By Stipulation.


                                                     Respectfully submitted,

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                                        Manufacturing and Supply Inc.; Quartzkraft
                                        LLP; and Stratus Surfaces LLC
October 15, 2024
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            UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE
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CAMBRIA COMPANY LLC,                       )
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                  Plaintiff,               )
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      and                                  )
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ANTIQUE MARBONITE PRIVATE LIMITED; )
SHIVAM ENTERPRISES, PRISM JOHNSON          )
LIMITED; ARIZONA TILE, LLC; M S            )
INTERNATIONAL, INC.; AND PNS               )
CLEARANCE LLC,                             )
                                           )
                  Consolidated Plaintiffs, )
                                           )
      v.                                   ) Consol. Court No. 23-00007
                                           )
UNITED STATES,                             )
                                           )
                  Defendant,               )
                                           )
      and                                  )
                                           )
ABP TRADING, LLC; ARIZONA TILE LLC;        )
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                                           )
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__________________________________________)
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                       ORDER OF JUDGMENT BY STIPULATION

      In view of the stipulation indicating that these cases have been settled, IT IS HEREBY

ORDERED that:

      1.     All claims raised in Case Nos. 23-00007, 23-00019, 23-00029, and 23-00030 are

             dismissed with prejudice;

      2.     The statutory injunctions in each case listed in Item 1 are dissolved;

      3.     Each party shall bear its own costs, expenses, and attorney fees; and

      3.     The Clerk of the Court shall enter judgment, accordingly.




                                                           ______________________
                                                                CHIEF JUDGE


Dated: ___________, 2024
      New York, NY
